
PER CURIAM:
This claim was submitted upon a duly executed written stipulation to the effect that the respondent is liable for damages in the sum of $41.01, based upon the following facts: On or about June 6, 1979, claimants’ son, Densil Duane Sayre, was operating claimants’ 1977 GMC automobile on West Virginia Routes 62 and 2. In the course of said operation, claimant’s vehicle crossed the Shadle Bridge over the Kanawha River between the cities of Henderson and Point Pleasant, West Virginia. Said bridge is owned and maintained by the respondent.
While crossing the bridge, claimant’s vehicle struck a piece of steel which punctured the right front tire. This occurred because of the negligence of the respondent, which negligence was the proximate cause of the damages suffered by the claimants. Respondent is therefore liable to the claimants for the sum of $41.01, which is a fair and equitable estimate of the damages sustained.
Based on the foregoing facts, an award in the above amount is hereby made.
Award of $41.01.
